      Case 1:18-cv-00829-SCY-JFR Document 69 Filed 06/29/20 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

JOHN VIGIL,

       Plaintiff,

v.                                              Case No. 1:18-CV-00829-SCY-JFR

FRANCES TWEED, et al.,

       Defendants.
                                CERTIFICATE OF SERVICE

          I hereby certify that on June 29, 2020, State Defendants’ First Set of

Interrogatories and Requests for Production of Documents to Plaintiff were served by

email along with a copy of this Certificate of Service, to:


Joe M. Romero, Jr.
joe@romeroandwinder.com

Attorneys for Plaintiff

Christina L.G. Brennan
James P. Sullivan
christina@brennsull.com
jamie@brennsull.com

Attorneys for County Defendants

                                         LONG, KOMER & ASSOCIATES, P.A.

                                         Attorneys for State Defendants


                                         /s/ Mark E. Komer______________
                                         MARK E. KOMER
                                         2200 Brothers Road/P. O. Box 5098
                                         Santa Fe, NM 87502-5098
                                         505-982-8405
                                         mark@longkomer.com
                                         email@longpoundkomer.com
